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EILEEN M. DECKER /,' '\…1_
United States Attorney j ?`€»ygr ~ 111_
LAWRENCE s. MIDDLETON / ; ~__5~@@?
Assistant United States Attorney j .._ "1»
Chief, Criminal Division _ "" f
JUSTIN R. RHOADES (Cal. Bar No. 230463) 1
Assistant United States Attorney
Violent & Organized Crime Section

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STA'I'ES OF AMERICA, NO. CR 15-C R1 5a O 6 8 8

 

 

Plaintiff, GOVERNMENT'S EX PARTE APPLICATION
FOR ORDER SEALING INDICTMENT AND
V. RELATED DOCUMENTS; DECLARATION OF

 

JUSTIN R. RHOADES

FRANK MUNOZ, et al.,
(UNDER SEAL)

Defendants.

 

 

 

 

The government hereby applies ex parte for an order that the
indictment and any related documents in the above-titled case (except
the arrest warrants for the charged defendants) be kept under seal

until the government files a “Report Commencing Criminal Action” in

this matter.

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This ex parte application is made pursuant to Federal Rule of

Criminal Procedure 6(e)(4) and is based on the attached declaration

of Justin R. Rhoades.
Dated: December 16, 2015 Respectfully submitted,

EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assist t United States Attorney
Chief, riminal Division

JUs ` IN 1351 . RHOADES
Ass s ant United States Attorney

Atto eys for Plaintiff
UNIT STATES OF AMERICA

 

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DECLARATION OF JUSTIN R. RHOADES

I, Justin R. Rhoades, declare as follows:

l. I am an Assistant United States Attorney in the United
States Attorney's Office for the Central District of California. I
am one of the attorneys representing the government in the
prosecution of United States v. Frank Munoz, et al., the indictment
in which is being presented to a federal grand jury in the Central
District of California on December 16, 2015.

2. The defendants charged in the above-captioned indictment
have not been taken into custody on the charges contained in the
indictment and have not been informed that they are being named as
defendants in the indictment to be presented to the grand jury on
December 16, 2015. The likelihood of apprehending one or more of the
charged defendants might jeopardized if the indictment in this case
were made publicly available before the defendants are taken into
custody on the indictment.

3. Accordingly, the government requests that the indictment
and sealed documents in this case (except the arrest warrants) be
sealed and remain so until one of the defendants is taken into
custody on the charges contained in the indictment and the government
files a “Report Commencing Criminal Action” in this matter.

4. I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct and

that this declaration is executed at Los Angeles, California, on

December 16, 2015.

/\/\

JU R. RHOADES

 

